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     Attorneys for Plaintiffs
 8
                                  UNITED STATES DISTRICT COURT
 9
10                                      DISTRICT OF ARIZONA

11
12   KAREN PARSONS and CLAY                           No.
     PARSONS,
13                                                              COMPLAINT
                          Plaintiffs,
14                                                     (Maritime Negligent Training)
15   v.
                                                            Jury Trial Demanded
16   ARAMARK SPORT AND
17   ENTERTAINMENT SERVICES, LLC.,
     dba LAKE POWELL RESORTS AND
18   MARINAS (“ARAMARK”)
19                        Defendants.
20
21          Plaintiffs Karen Parsons (“Karen”) and Clay Parsons (“Clay”), for their claim for

22   relief against Defendants Aramark Sport and Entertainment Services, LLC, dba Lake Powell

23   Resorts and Marinas (“Aramark”) allege as follows:

24                              PARTIES, JURISDICTION, AND VENUE

25         1. Karen and Clay are husband and wife.

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 1   2. Karen and Clay lived in Pima County, Arizona on the date of the incident at issue
 2      and still reside in Pima County, Arizona.
 3   3. This is a personal injury claim brought on behalf of the Parsons which occurred
 4      upon the navigable waters of the United States of America, on Lake Powell, which
 5      is within the territory of the State of Arizona.
 6   4. Defendant Aramark is a Delaware limited liability corporation licensed and doing
 7      business in Arizona.
 8   5. Defendant Aramark, as part of its business, rents houseboats on Lake Powell and is
 9      the exclusive concessionaire for the National Park Service on Lake Powell.
10   6. Jane Doe, whose true name is not now known, was at all times herein an employee
11      of Defendant Aramark on the date of the incident at issue.
12   7. At the time of the incident at issue, employee Jane Doe was acting within the
13      course and scope of her employment with Defendant Aramark and performing her
14      assigned duties checking in rental houseboats.
15   8. At all times mentioned herein, Defendant Aramark employed Jane Doe.
16   9. Defendant Aramark is vicariously responsible for any negligent acts of its
17      employees acting within the course and scope of their employment with Defendant
18      Aramark, which in this case includes Jane Doe.
19   10. All material actions leading to this claim occurred in Coconino County, Arizona.
20   11. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2).
21   12. Based upon the foregoing, this Court has Admiralty subject matter jurisdiction
22      over this claim pursuant to 28 U.S.C. § 1333(1) and Article III, Section 2 of the
23      United States Constitution.
24   13. This Court has diversity jurisdiction pursuant to 28 U.S.C. §1332.
25   14. This claim is timely pursuant to 46 U.S.C. § 30106 imposing a three-year statute of
26      limitations on claims arising from a maritime tort.


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 1                                 GENERAL ALLEGATIONS
 2   15. On June 28, 2020 through July 2, 2020, Karen and Clay and their friends rented a
 3      houseboat from Defendant Aramark at the Lake Powell boat rental dock on the of
 4      Lake Powell in Coconino County, Arizona.
 5   16. On July 2, 2020, Karen and Clay and their friends and family were in the process of
 6      returning the houseboat rented from Defendant Aramark at the Lake Powell boat
 7      rental dock in Coconino County, Arizona
 8   17. At the time, Defendant Jane Doe, acting within the course and scope of her
 9      employment with Aramark, boarded the boat while the boat renters, including
10      Karen, were unloading their possessions.
11   18. Defendant Jane Doe, acting contrary to reasonable practice and contrary to the
12      policies of Defendant Aramark, opened a floor hatch located in the middle of the
13      bow area without notifying any of the other people on board the boat.
14   19. Such opening of the hatch created a dangerous and unknown condition for the other
15      people on board the boat, including Karen, who had her back turned to the hold at
16      the time the hatch was open.
17   20. Karen, unaware of the change in condition of the hold area as a result of Jane Doe
18      opening the hatch, fell into the hold.
19   21. As a direct result of Jane Doe’s negligence in the course and scope of her
20      employment with Defendant Aramark, Karen has suffered a fifth metatarsal
21      avulsion fracture and foot sprain.
22   22. Karen was then transported to medical care by her husband.
23   23. Karen’s injury, pain and distress is ongoing and is likely to be permanent.
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 1                                          COUNT ONE
 2                                   (Maritime Negligence)
 3   24. Plaintiffs re-allege and incorporate all above paragraphs by reference herein as if
 4      fully alleged and further allege:
 5   25. Jane Doe had a duty to exercise reasonable care under the circumstances.
 6   26. Jane Doe breached her duty by negligently opening a floor hatch in a high traffic
 7      area while renters were still moving about the vessel in the process of deboarding
 8      without notifying the other individuals on board.
 9   27. The above alleged negligence caused the Parsons to suffer the injuries as alleged
10      herein.
11   28. As a direct and proximate result of the negligence of Defendants, Plaintiffs have
12      suffered personal injuries—some of which may be permanent in nature—and have
13      incurred pain, suffering, anxiety, humiliation, inconvenience. Further, Plaintiffs
14      have incurred medical and related expenses, and will continue to incur such
15      expenses for the foreseeable future.
16                                          COUNT TWO
17                                      (Negligent Training)
18   29. Plaintiffs re-allege and incorporate all above paragraphs by reference herein as if
19      fully alleged and further allege:
20   30. It is believed and therefore alleged that Jane Doe was a new employee of Aramark
21      and was not properly trained and Aramark was negligent in not providing proper
22      training to Jane Doe.
23   31. Jane Doe breached her duty by negligently opening a floor hatch in a high traffic
24       area while renters were still moving about the vessel in the process of deboarding
25       without notifying the other individuals on board.
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 1         32. The above alleged negligence caused the Parsons to suffer the injuries as alleged
 2              herein.
 3
           WHEREFORE, Plaintiffs ask for a jury trial and thereafter for this Court to enter
 4
     judgment in their favor and against the Defendant as follows:
 5
                     a.   For general damages for permanent injuries including, but not limited
 6
                          to, physical and emotional pain and suffering in an amount to be
 7
                          determined at jury trial;
 8
                     b.   For special damages including, but not limited to, medical expenses
 9
                          incurred and reasonably necessary in the future in an amount to be
10
                          determined at jury trial;
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                     c.   For attorney’s fees and costs of suit incurred; and
12
                     d.   For such other and further relief as the court deems just and proper.
13
14
     Dated: March 15, 2022                                MESCH CLARK ROTHSCHILD
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16                                                        By:___Douglas H. Clark, Jr.
17                                                              Douglas H. Clark, Jr.
                                                                Attorneys for Plaintiffs
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